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VIRGINIA DUNCAN, et al.,                        
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Attorney General of the State of California; et 
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                                CERTIFICATE OF SERVICE
Case Name:         Duncan, Virginia et al v. Xavier        No.     17-cv-1017-BEN-JLB
                   Becerra

I hereby certify that on July 27, 2017, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
NOTICE OF APPEAL
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on July 27, 2017, at Sacramento, California.


               Tracie L. Campbell                                /s/ Tracie Campbell
                   Declarant                                          Signature

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